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                        IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF DELAWARE

                                                                Chapter 11
In re:
                                                                Case No.: 19-11466 (MFW)
CENTER CITY HEALTHCARE, LLC d/b/a
HAHNEMANN UNIVERSITY HOSPITAL,                                  (Jointly Administered)
et al.,1

                                    Debtors.

                                      CERTIFICATE OF SERVICE

         I, Seth A. Niederman, hereby certify that on September 1, 2020, a true and correct copy of

the Thirteenth Monthly Application of Sills Cummis & Gross P.C. for Allowance of Compensation

for Services Rendered and for Reimbursement of Expenses as Counsel to the Official Committee

of Unsecured Creditors for the Period from July 1, 2020 through July 31, 2020 was served by (1)

all parties of record via CM/ECF and (2) Email to the parties on the attached service list.




    Dated: September 1, 2020                             /s/ Seth A. Niederman
                                                         Seth A. Niederman (DE No. 4588)




1
  The Debtors in these cases, along with the last four digits of each Debtor’s federal tax identification number, are:
Center City Healthcare, LLC (3341), Philadelphia Academic Health System, LLC (8681), St. Christopher’s
Healthcare, LLC (8395), Philadelphia Academic Medical Associates, LLC (8165), HPS of PA, L.L.C. (1617), SCHC
Pediatric Associates, L.L.C. (0527), St. Christopher’s Pediatric Urgent Care Center, L.L.C. (6447), SCHC Pediatric
Anesthesia Associates, L.L.C. (2326), StChris Care at Northeast Pediatrics, L.L.C. (4056), TPS of PA, L.L.C. (4862),
TPS II of PA, L.L.C. (5534), TPS III of PA, L.L.C. (5536), TPS IV of PA, L.L.C. (5537), and TPS V of PA, L.L.C.
(5540). The Debtors’ mailing address is 230 North Broad Street, Philadelphia, Pennsylvania 19102.




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                                        Service List

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